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            Exhibit 5
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

  SOUTH        WIND         WOMEN’S          CENTER
  LLC, d/b/a TRUST          WOMEN        OKLAHOMA
  CITY, on behalf of itself, its physicians and staff,
  and its patients, et al.,

                Plaintiffs,
                                                         Case No. CIV-20-277-G
        v.

J. KEVIN STITT in his official capacity as
Governor of Oklahoma, et al.,

                Defendants.


      DECLARATION OF JOSHUA SHARFSTEIN, M.D., IN SUPPORT OF
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

I, Joshua Sharfstein, M.D., declare as follows:

       1.      I am Professor of the Practice in Health Policy and Management at the Johns

Hopkins Bloomberg School of Public Health.

       2.      I am offering this declaration on my own behalf and not on behalf of Johns

Hopkins University.

       3.      Prior to my current position, I served as Secretary of the Maryland

Department of Health and Mental Hygiene (including during the Ebola pandemic in 2014),

the Acting Commissioner and then the Principal Deputy Commissioner of the U.S. Food

and Drug Administration (including during the H1N1 Flu pandemic of 2009), and

Commissioner of Health for the City of Baltimore. I have been elected as a member of the




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National Institute of Medicine and the National Academy of Public Administration. My

complete curriculum vitae is attached.

       4.      My areas of teaching and research include public health crisis and response,

healthcare payment, and the opioid epidemic. I teach a class entitled “Crisis and Response

in Public Health Policy and Practice” and am the author of the Public Health Crisis Survival

Guide: Leadership and Management in Trying Times, from Oxford University Press.

       5.      I am closely following the COVID-19 pandemic. I have written several

articles about the pandemic in the Journal of the American Medical Association, USA

Today, and the New York Times.

       6.      I understand that as part of its efforts to conserve personal protective

equipment and hospital resources, Oklahoma has issued an executive order barring elective

surgeries and minor medical procedures. Oklahoma later clarified that this order also

includes “any type of abortion services.”

       7.       I further understand that if a patient is not able to obtain an abortion in

Oklahoma while this prohibition remains in effect, they will be forced to either remain

pregnant for the duration of the order or travel to another state to attempt to obtain an

abortion.

       8.      Delaying non-essential procedures is a responsible act by public health

officials and the healthcare system as a mitigation measure during a public health crisis.




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However, multiple medical professional organizations,1 led by the American College of

Obstetricians and Gynecologists (“ACOG”), have stated that

         Abortion is an essential component of comprehensive health care. It is also a time-
         sensitive service for which a delay of several weeks, or in some cases days, may
         increase the risks or potentially make it completely inaccessible. The consequences
         of being unable to obtain an abortion profoundly impact a person’s life, health, and
         well-being.
Joint Statement on Abortion Access During the COVID-19 Outbreak, ACOG (Mar. 18,

2020),        https://www.acog.org/news/news-releases/2020/03/joint-statement-on-abortion-

access-during-the-covid-19-outbreak.

         9.      If Oklahoma is leaving to physicians the determination of whether a

procedure is elective or routine, it does not make sense from a public health perspective to

categorically exclude abortion services from this area of clinical judgment.

         10.     I am concerned that stopping abortion care will unnecessarily complicate the

response to the coronavirus pandemic and, indeed, may worsen the public health crisis for

three reasons.

         11.     First, if patients travel to attempt to obtain an abortion in another state, they

will expose themselves and others they come in contact with to an increased risk of

COVID-19 infection. According to a recent analysis conducted by the Guttmacher

Institute, “[t]he average (median) one-way driving distance to an abortion clinic for a




1
  These include: the American Association of Gynecologic Laparoscopists, the American
Gynecological & Obstetrical Society, the American Society for Reproductive Medicine,
the Society for Academic Specialists in General Obstetrics and Gynecology, the Society of
Family Planning, and the Society for Maternal-Fetal Medicine.
                                                 3
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woman of reproductive age in Oklahoma would increase from 14 miles to 155 miles (or

1,007% longer) if legal abortion care in the state were shut down.”2

       12.    Second, I have reviewed the declaration of Dr. Gillian Schivone (Decl. of

Gillian Schivone, M.D., in Supp. of Pls.’ Mot. for TRO & Prelim. Inj., attached as Ex. 4 to

Pls.’ Mot. for TRO & Prelim. Inj., ECF No. 16-4) and understand from that declaration

that if patients are delayed for weeks or more in obtaining an abortion, some will be

required to have a two-day procedure instead of a one-day procedure, or a procedural

abortion instead of a medication abortion, and that either of these changes results in the use

of more personal protective equipment.

       13.    Third, I understand there is concern and uncertainty about whether

coronavirus infection could be more severe in pregnant women. The CDC states the agency

“do[es] not currently know if pregnant women have a greater chance of getting sick from

COVID-19 than the general public nor whether they are more likely to have serious illness

as a result. Pregnant women experience changes in their bodies that may increase their risk

of some infections. With viruses from the same family as COVID-19, and other viral

respiratory infections, such as influenza, women have had a higher risk of developing

severe illness.”3 In addition, the Oklahoma Department of Health states, “[p]regnant

women experience immunologic and physiologic changes which might make them more


2
  Jonathan Bearak et al., COVID-19 Abortion Bans Would Greatly Increase Driving
Distances for Those Seeking Care, Guttmacher Institute (Apr. 2020), https://www.gut
tmacher.org/article/2020/04/covid-19-abortion-bans-would-greatly-increase-driving-
distances-those-seeking-care.
3
  CDC, Pregnancy and Breastfeeding FAQs (last reviewed Apr. 3, 2020), https://www.
cdc.gov/coronavirus/2019-ncov/need-extra-precautions/pregnancy-breastfeeding.html.
                                              4
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susceptible to viral respiratory infections, including COVID-19.”4 In other words, delaying

a woman from being able to access abortion services may increase the risk for a severe

infection that places her and the healthcare system at greater risk.

       14.    I understand that state officials are taking the position that prohibiting most

or all abortion services in the state for some period of time is acceptable because services

may be resumed in three or four weeks absent additional action. Given the trajectory of the

pandemic, it is highly unlikely that the United States or Oklahoma will be in a substantially

better position in three or four weeks. The White House recommendations for social

distancing, which were extended on March 30, are in place until at least April 30 and may

be extended further.5 With respect to personal protective equipment, shortfalls may be

anticipated to continue for several months.6 It is thus foreseeable that the state will have no

basis to change its position in three weeks, which will exacerbate the unintended

consequences mentioned above.



4
  Okla. State Dep’t of Health, What You Should Know, https://coronavirus.health.ok.gov/
what-you-should-know (last accessed Apr. 6, 2020).
5
  Quint Forgey, Social Distancing Guidelines Will Likely Be in Place Beyond April,
Surgeon General Says, Politico (Apr. 1, 2020, 10:28 AM), https://www.politico.com/
news/2020/04/01/jerome-adams-coronavirus-social-distancing-guidelines-158998.
6
  See, e.g., Tyler Clifford, Hospital Supplier Owens & Minor Is Expanding Capacity to
Meet Personal Protective Equipment Demands, CNBC (Mar. 27, 2020), https://www.cnbc
.com/2020/03/27/hospital-supplier-owens-minor-expanding-capacity-to-meet-ppe-deman
ds.html (CEO of U.S.-based hospital supplier saying that factory production is already
“running 24/7” and will still need “probably 5 to 6 months” to be able to expand PPE
production to meet demand); Farhad Manjoo, How the World’s Richest Country Ran Out
of a 75-Cent Face Mask, N.Y. Times (Mar. 25, 2020), https://www.nytimes.com/2020/03
/25/opinion/coronavirus-face-mask.html (COO of Canadian-based PPE manufacturer
saying that production is already “at full capacity” and that “extending further will take
anywhere between three to four months”).
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       15.    Oklahoma has other public health measures available that are calculated to

be more effective than prohibiting abortion. For example, Oklahoma has yet to impose

more stringent social distancing measures equivalent to those many other states have taken

and recommended by leading public health authorities, and which are showing results in

reducing the number of coronavirus infections.

       16.    As another alternative to the current approach, Oklahoma could take steps to

assure that all healthcare providers, including providers of abortion services, have specific

plans to reduce spread of coronavirus infection.

       17.    These alternative steps would accomplish the goals of the state in the

coronavirus pandemic, better than the policy at issue in this case.

       18.    I declare under penalty of perjury that the foregoing is true and correct.




                                                     Joshua Sharfstein, M.D.
Executed on: April 8, 2020




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PROFESSIONAL EXPERIENCE

1/15 -              Faculty, Johns Hopkins Bloomberg School of Public Health

Professor of the Practice in the Department of Health Policy and Management. Associate Dean
for Public Health Practice and Training (1/15-3/18). Inaugural Director, Bloomberg American
Health Initiative (11/15-). Vice Dean for Public Health Practice and Community Engagement
(3/18-)

1/11 - 12/14        Secretary, Maryland Department of Health and Mental Hygiene

Appointed by Governor Martin O’Malley and confirmed by Maryland State Senate. Co-chair of
Maryland Health Care Quality & Cost Council and chair of Maryland Health Benefit Exchange.

3/09 - 1/11         Acting Commissioner (until 6/09) and then Principal Deputy
                    Commissioner, U.S. Food and Drug Administration

Appointed by President Barack Obama to second-highest ranking position in the agency.

12/05 - 3/09        Commissioner of Health, Baltimore City

Appointed by Mayor Martin O’Malley and re-appointed by Mayor Sheila Dixon, with
confirmation by City Council, to lead the oldest, continuously operating health department in the
United States. Chair of Baltimore Substance Abuse Systems, Inc., Baltimore Healthcare Access,
Inc., Baltimore City Healthy Start, Inc., and Baltimore Animal Rescue and Care Shelter, Inc.

7/01 - 12/05        Minority Professional Staff and Health Policy Advisor, Government
                    Reform Committee, U.S. House of Representatives.

For Congressman Henry A. Waxman.


PROFESSIONAL ACTIVITIES

Society Membership and Leadership

   ● Elected Fellow, Institute of Medicine, 2014-Present
   ● Elected Fellow, National Academy of Public Administration, 2013-Present
   ● Fellow, American Academy of Pediatrics, 2001-Present



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Advisory Panels

   ● Member, Committee of Science, Technology, and Law of the National Academies of
     Science, Engineering, and Medicine.

   ● Co-Chair, Population Health Roundtable, National Academies of Science, Engineering
     and Medicine, 1/18-

   ● Chair, Advisory board for Network for Public Health Law, 6/2017- 2/2019.

   ● Member, Board on Population Health and Public Health Practice, Institute of Medicine,
     2007-2009 and 2013-2019.

   ● Member, Health Information Technology Policy Advisory Committee, U.S. Department
     of Health and Human Services, 2012-2014.

   ● Member, Advisory Board, Leadership for Healthy Communities, 2007-2009


EDITORIAL ACTIVITIES

Peer Review Activities (recent)

   ●   Journal of the American Medical Association
   ●   New England Journal of Medicine
   ●   JAMA Internal Medicine
   ●   JAMA Pediatrics
   ●   Pediatrics

Editorial Board Membership

   ● Journal of the American Medical Association, 2011- .
        ○ Co-editor of Special Issue on Health Policy, November 13, 2013.
   ● Public Health Reports, Contributing Editor for Local Acts, 2007-2009

Other Editorial Activity

   ● Guest Editor, JAMA Internal Medicine, October 2014 issue on medical devices


HONORS AND AWARDS

2018         Advising, Mentoring, Teaching Recognition Award, Johns Hopkins Bloomberg
             School of Public Health



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2014            Heart Healthy, Stroke Free Award, National Forum for Heart Disease & Stroke
                Prevention

2013            Circle of Commendation Award, Consumer Product Safety Commission
                NARAL Pro-Choice Maryland Leadership Award

2008            Public Official of the Year, Governing Magazine

1999            Alpha Omega Alpha, Boston University School of Medicine

1996            Rose Seegal Award for Research, Community Service Award, Robert H. Ebert
                Prize in Primary Care, Harvard Medical School

1994            Jay S. Drotman Memorial Award, American Public Health Association

1991            Phi Beta Kappa, Thomas Temple Hoopes Prize, Frederick Sheldon Traveling
                Fellowship, Harvard College

Named Lectureships

February 6, 2019       Ernest M. Haddad Lecture. Massachusetts General Hospital Internal
                       Medicine Grand Rounds. ​Mission Impossible? Asking Health Care to
                       Advance the Health of the Population

October 25, 2019       C. Everett Koop Distinguished Lecture, C. Everett Koop Institute,
                       Dartmouth College. ​The Politics of Public Health: The Case of the Opioid
                       Epidemic.

May 24, 2018           Leon Kassel Lecture, Sinai Hospital. ​The U.S. Opioid Epidemic: Past,
                       Present, and Future.
November 15,
2016                   John C. Robinson Lecture, Massachusetts General Hospital for Children.
                       Will Changes in Healthcare Mean Better Health for Children?

April 18, 2014         Charles C. Leighton MD Memorial Lecture, Leonard Davis Institute at the
                       University of Pennsylvania. ​Maryland’s Unique Hospital Payment Policy.

October 15, 2013       Seidman Lecture, Harvard Medical School. ​Lashed to the Mast:
                       Navigating through Health CarePolicy, Politics, and Reform in 2014 and
                       Beyond.

June 26, 2013          Hunt Lectureship, Maryland State Medical Society. ​History of the FDA.

October 4, 2012        Hirsch Lecture in Health Law and Policy, George Washington School of
                       Public Health. ​Aligning Health Care with Health.


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April 26, 2012       Albert J. Himelfarb Lecture, Sinai Hospital Department of Medicine,
                     Health Care 2015 -- and How Do We Get There?

April 27, 2011       Paul A. Harper Lecture, Johns Hopkins Bloomberg School of Public
                     Health, ​Advocacy for Children

October 5, 2010      Francis S. Balassone Lecture, University of Maryland School of
                     Pharmacy. ​Regulation at FDA

April 24, 2010       Theodore E. Woodward Annual Lecture, University of Maryland School
                     of Medicine, ​FDA, Clinical Medicine, and Public Health

August 21, 2008      Moira J. Whitehead Memorial Lecture, Children’s Hospital of Pittsburgh.
                     From Bedside to Policy: Pediatrics and Public Health



PUBLICATIONS

Journal Articles​:​ Peer Reviewed Studies and Reviews

1.   Heyward J, Olson L, Sharfstein JM, Stuart EA, Lurie P, Alexander GC. Evaluation of the
     Extended-Release/Long-Acting Opioid Prescribing Risk Evaluation and Mitigation
     Strategy Program by the US Food and Drug Administration: A Review. JAMA Intern Med.
     2019 Dec 30. [Epub ahead of print]

2.   Pérez AV, Trujillo AJ, Mejia AE, Contreras JD, Sharfstein JM. Evaluating the centralized
     purchasing policy for the treatment of hepatitis C: The Colombian CASE. Pharmacol Res
     Perspect. 2019 Dec 10;7(6):e00552.

3.   Wallace M, Sharfstein J, Lessler J. Performance and Priorities: A Cross-sectional Study of
     Local Health Department Approaches to Essential Public Health Services. Public Health
     Rep. 2020 Jan;135(1):97-106.

4.   Rollman JE, Heyward J, Olson L, Lurie P, Sharfstein J, Alexander GC. Assessment of the
     FDA Risk Evaluation and Mitigation Strategy for Transmucosal Immediate-Release
     Fentanyl Products. ​Journal of the American Medical Association.​ 2019 Feb
     19;321(7):676-685.

5.   Wallace M, Sharfstein JM, Kaminsky J, Lessler J. Comparison of US County-Level Public
     Health Performance Rankings With County Cluster and National Rankings: Assessment
     Based on Prevalence Rates of Smoking and Obesity and Motor Vehicle Crash Death Rates.
     JAMA Network Open. 2​ 019 Jan 4;2(1):e186816.



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6.    Xu T, Klein EY, Zhou M, Lowenthal J, Sharfstein JM, Peterson SM. Emergency
      Department Utilization Among the Uninsured During Insurance Expansion in Maryland.
      Ann Emerg Med.​ 2018 Aug;72(2):156-165.

7.    Horon IL, Singal P, Fowler DR, Sharfstein JM. Standard Death Certificates Versus
      Enhanced Surveillance to Identify Heroin Overdose-Related Deaths.​ Am J
      Public Health.​ 2018 Jun;108(6):777-781.

8.    Alexander GC, Ballreich J, Socal MP, Karmarkar T, Trujillo A, Greene J,
      Sharfstein J, Anderson G. Reducing branded prescription drug prices: A review of
      policy options. ​Pharmacotherapy​. 2017 Aug 14. [Epub ahead
      of print]

9.    Tschudy MM, Sharfstein J, Matsui E, Barnes CS, Chacker S, Codina R, Cohn JR,
      Sandel M, Wedner HJ. Something new in the air: Paying for community-based
      environmental approaches to asthma prevention and control. ​J Allergy Clin Immunol.​ 2017
      Feb 10. pii: S0091-6749(17)30223-3.

10.   Rebbert-Franklin K, Haas E, Singal P, Cherico-Hsii S, Baier M, Collins K,
      Webner K, Sharfstein J. Development of Maryland Local Overdose Fatality Review
      Teams: A Localized, Interdisciplinary Approach to Combat the Growing Problem of
      Drug Overdose Deaths.​ Health Promot Pract.​ 2016 Jul;17(4):596-600.

11.   Horrocks D, Kinzer D, Afzal S, Alpern J, Sharfstein JM. The Adequacy of
      Individual Hospital Data to Identify High Utilizers and Assess Community Health.
      JAMA Internal Medicine.​ 2016 Jun 1;176(6):856-8. Research letter.

12.   Cherico-Hsii S, Bankoski A, Singal P, Horon I, Beane E, Casey M,
      Rebbert-Franklin K, Sharfstein J. Sharing Overdose Data Across State Agencies to
      Inform Public Health Strategies: A Case Study. ​Public Health Rep​. 2016
      Mar-Apr;131(2):258-63..

13.   Hussein CA, Luckner M, Samson R, Matsuoka K, Mann DA, Rekhi R, Richardson E,
      Hurson JA, Reece EA, Sharfstein JM. Working with communities to achieve health equity
      in Maryland’s five health enterprise zones. ​Journal of Health Care for the Poor and
      Underserved​ 2014; 25(1 Suppl): 4-10.

14.   Schwartz RP, Gryczynski J, O'Grady KE, Sharfstein JM, Warren G, Olsen Y, Mitchell SG,
      Jaffe JH. Opioid agonist treatments and heroin overdose deaths in Baltimore, Maryland,
      1995-2009. ​American Journal of Public Health​ 2013;103:917-22.

15.   Schnitzer, MI, Kaplin DB, Keane VA, Zuckerman B, Sharfstein JM. Giving literacy a shot
      in the arm. ​Public Health Reports​ 2008; 123(4): 523-6.

16.   O’Keefe, G, Veale L, North M, Goetzinger K, Stewart J, Sharfstein J. A public health
      response to the implementation of Medicare Part D. ​Public Health Reports​ 2007;
      122(1)101-4.

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17.   Averbach AR, Lam D, Lam LP, Sharfstein J, Cohen B, Koh H. Smoking behaviours and
      attitudes among male restaurant workers in Boston’s Chinatown: a pilot study. ​Tobacco
      Control​ 2002;11 Suppl 2: ii34-7

18.   Atkinson KA, Zuckerman B, Sharfstein J, Levin D, Blatt R, Koh H. A public health
      response to emerging technology: expansion of the Massachusetts newborn screening
      program. ​Public Health Reports​ 2001; 116:122-31.

19.   Bauchner H, Sharfstein J. Failure to report ethical approval in child health research: review
      of published papers. ​British Medical Journal​ 2001;323:318-9.

20.   Sharfstein J, Sandel M, Kahn R, Bauchner H. Is child health at risk while families wait for
      housing vouchers? ​American Journal of Public Health​ 2001; 91:1191-2.

21.   Sharfstein J. Blowing smoke: How cigarette manufacturers argued that nicotine is not
      addictive. ​Tobacco Control​ 1999;8:210-213.

22.   Sharfstein J. Tackling tobacco or limiting malpractice awards? The campaign contribution
      priorities of the American Medical Association in the 1996 U.S. Congressional elections.
      American Journal of Public Health​ 1998; 88: 1233-1236.

23.   Sharfstein J and Wise P. Inadequate hepatitis B vaccination of adolescents and adults at an
      urban community health center. ​Journal of the National Medical Association 1​ 997;
      89:86–92.

24.   Sharfstein J and Sharfstein SS. Campaign contributions from the American Medical
      Political Action Committee to members of Congress: For or against the public health? ​New
      England Journal of Medicine​.1994; 330: 32–37. Correction: 332:1450.


Books or Monographs

1.    Olsen Y and Sharfstein J. ​The Opioid Epidemic: What Everyone Needs to Know.​ Oxford:
      Oxford University Press, 2019.

2.    Sharfstein J.​ The Public Health Crisis Survival Guide: Leadership and Management in
      Trying Times​. Oxford: Oxford University Press, 2018.

3.    Sharfstein JM, Chrysler D, Bernstein J, Armijos L, Tolosa-Leiv, L, Taylor H, and Rutkow,
      . (2017, December). Using Electronic Health Data for Community Health:Example Cases
      and Legal Analysis. Retrieved from
      http://www.debeaumont.org/EHDforCommunityHealth​.

4.    Sharfstein J, Gerovich S, Moriarty E, Chin D. An emerging approach to payment reform:
      All-payer global budgets for large safety-net hospital systems. Commonwealth Fund.
      August 2017.



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5.   Emanuel E, Spiro T, Calsyn M, Price C, Altman S, Armstrong S, Colmers C, Cutler D, de
     Brantes F, Egerman P, Kocher K, Orzag P, Rosenthal M, Selig, J, Sharfstein J, Stern A,
     Tanden N. ​Accountable Care States: the Future of Health Care Cost Control.​ Washington:
     Center For American Progress, August 2014.

6.   Sharfstein, J and Sandel M. Editors. ​Not Safe at Home: How America’s Housing Crisis
     Threatens the Health of Its Children.​ Boston: Boston Medical Center Department of
     Pediatrics, 1998. Reprinted in ​Health Policy & Child Health​ 1998; 5(1):1-6. and ​Journal of
     Housing and Community Development​ 1998;55(4): 14-24.

7.   Torrey EF, Stieber J, Ezekiel R, Wolfe S, Sharfstein J, Noble J and Flynn L. ​Criminalizing
     the Seriously Mentally Ill: The Abuse of Jails as Mental Hospitals.​ Washington D.C.:
     Public Citizen and the National Alliance for the Mentally Ill, 1992.


Commentaries and Editorials
1.   Sharfstein JM, Olsen Y. How Not to Spend an Opioid Settlement. JAMA. 2020 Mar
     17;323(11):1031-1032.

2.   Sharfstein JM, Becker SJ, Mello MM. Diagnostic Testing for the Novel Coronavirus.
     JAMA. 2020 Mar 9. [Epub ahead of print]

3.   Sunderji A, Mena KN, Winickoff J, Melinek J, Sharfstein J. Influenza Vaccination and
     Migration at the US Southern Border. Am J Public Health. 2020 Apr;110(4):466-467. doi:
     10.2105/AJPH.2019.305547.

4.   Sharfstein JM. Reform at the FDA-In Need of Reform. JAMA. 2020 Jan
     14;323(2):123-124.

5.   Felix C, Sharfstein JM, Olsen Y. Help Is on the Way: Medicare Coverage of Opioid
     Treatment Programs. J Am Geriatr Soc. 2019 Dec 11. doi: 10.1111/jgs.16281. [Epub ahead
     of print]

6.   Pytell JD, Sharfstein JM, Olsen Y. Facilitating Methadone Use in Hospitals and Skilled
     Nursing Facilities. ​JAMA Internal Medicine. ​2019 Nov 18.

7.   Sharfstein JM. Adolescence: An Opportunity for Population Health. ​Milbank Quarterly.
     2019 Nov 6.

8.   Sharfstein JM, Olsen Y. Lessons Learned From the Opioid Epidemic. ​Journal of the
     American Medical Association.​ 2019 Aug 5. doi: 10.1001/jama.2019.9794. [Epub ahead of
     print]

9.   Kawasaki S, Sharfstein JM. The cost of the opioid epidemic, in context. ​American Journal
     of Managed Care. ​2019 Jul;25(13 Suppl):S241-S242. PubMed PMID: 31361433.


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10.   Sharfstein JM, Slocum J. Private Equity and Dermatology-First, Do No Harm.​ JAMA
      Dermatology. 2​ 019 Jul 24.

11.   Cohen PA, Sharfstein J. The Opportunity of CBD - Reforming the Law. ​New England
      Journal of Medicine. 2​ 019 Jul 25;381(4):297-299.

12.   Sharfstein JM, Olsen Y. Making Amends for the Opioid Epidemic. ​Journal of the
      American Medical Association.​ 2019 Apr 16;321(15):1446-1447.

13.   Sharfstein JM. Introduction: State Innovation Models. ​Milbank Quarterly.​ 2019
      Jun;97(2):505. 30957298; PubMed Central PMCID: PMC6554553.

14.   Sharfstein JM. The Promise-and Politics-of State Innovation for Health. ​Milbank
      Quarterly.​ 2019 Jun;97(2):387-390. doi: 10.1111/1468-0009.12384. Epub 2019 Apr 4.

15.   Resnick BA, Morlock L, Diener-West M, Stuart EA, Spencer M, Sharfstein JM. PH WINS
      and the Future of Public Health Education. ​J Public Health Manag Pract. ​2019 Mar/Apr;25
      Suppl 2, Public Health Workforce Interests and Needs Survey 2017:S10-S12.

16.   Sharfstein JM. Common Ground on Health. ​JAMA​. 2018 Dec 25;320(24):2518-2519.

17.   Rajagopal S, Barnhill A, Sharfstein JM. The evidence-and acceptability-of taxes on
      unhealthy foods. ​Isr J Health Policy Res.​ 2018 Nov 20;7(1):68.

18.   Sharfstein JM, Leighton J, Sommer A, MacKenzie EJ. Public Health Rising to the
      Challenge: The Bloomberg American Health Initiative. ​Public Health Rep. 2​ 018
      Nov/Dec;133(1_suppl):3S-4S.

19.   Sharfstein J, Santamaria R. Enabling School Success to Improve Community Health.
      JAMA. 2​ 018 Sep 18;320(11):1096.

20.   Sharfstein JM. The Fires Are Burning. ​Milbank Q. ​2018 Oct 21.

21.   Bommersbach T, Borger K, Steverman S, Manderscheid RW, Sharfstein J, Everett A.
      Behavioral Health, Local Health Department Accreditation, and Public Health 3.0:
      Leveraging Opportunities for Collaboration. ​Am J Public Health. 2​ 018
      Oct;108(10):1334-1340.

22.   Sharfstein JM. How Do You Solve a Problem Like Juul? ​Milbank Q.​ 2018
      Sep;96(3):417-420.

23.   Sharfstein JM, Stuart EA, Antos J. Global Budgets in Maryland: Assessing Results to Date.
      JAMA. 2018 Jun 26;319(24):2475-2476.

24.   Sharfstein JM. Crises and Population Health. ​Milbank Quarterly​. 2018 Apr 13.. [Epub
      ahead of print].

25.   Sharfstein JM. A Health Policy Sonnet. ​Milbank Quarterly.​ 2018 Mar;96(1):9-12.


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26.   Green TC, Rich JD, Sharfstein J. Commentary on 'Revisiting the 'paradigm
      shift' in opioid use: Developments and implications 10 years later'. ​Drug Alcohol
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27.   Sharfstein JM. A New Year's Wish on Opioids. JAMA. 2018 Feb 13;319(6):537-538.

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3.    Alexander GC, Sharfstein J. Opioid Epidemic: Fight addiction and chronic pain together to
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5.    Sharfstein J, Lee J, Conti R. We have a cure for hepatitis C. But the neediest can’t afford it.
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15.   Sharfstein J. Folic Acid Antagonists during pregnancy and risk of birth defects. Letter. ​New
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16.   Sharfstein J, Babl F. Cat scratch disease without cat scratch. ​Infectious Diseases in
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19.   Sharfstein J, Wise P. Cost-effectiveness of hepatitis B virus immunization.
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Selected Blog Posts

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2.    Sharfstein J. JAMA Forum: After 50 Years, a Leap Backward for Children? 17 May 2017.
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3.    Sharfstein J. JAMA Forum: Notes on the Presidential Transition. 16 November 2016.
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4.    Sharfstein J. JAMA Forum: “Mayor’s Night Out” and the Politics of Health. Available at
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5.    Sharfstein J. JAMA Forum: The Zika Virus and Abortion Politics. 11 May 2016. Available
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8.    Sharfstein J. JAMA Forum: “Loose Change” for Population Health. Available at
      https://newsatjama.jama.com/2015/06/24/jama-forum-loose-change-for-population-health/

9.    Sharfstein J. JAMA Forum: A global epidemic in plain sight. 25 June 2014 Available at
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10.   Sharfstein J. JAMA Forum: Medical boards and the public’s health. 10 April 2014.
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      and-the-publics-health/

11.   Sharfstein J. JAMA Forum: The public health challenge of drug overdose. 22 January
      2014. Available at
      http://newsatjama.jama.com/2014/01/22/jama-forum-the-public-health-challenge-of-drug-overdose​/

12.   Sharfstein J. JAMA Forum: Behind the curtain of Maryland’s health enterprise zone
      initiative. 7 August 2013. Available at
      http://newsatjama.jama.com/2013/08/07/jama-forum-behind-the-curtain-of-marylands-heal
      th-enterprise-zone-initiative/

13.   Sharfstein J. JAMA Forum: Public health regulation as a public process. 22 May 2013.
      Available at
      http://newsatjama.jama.com/2013/05/22/jama-forum-public-health-regulation-as-a-public-process/

14.   Sharfstein J. JAMA Forum: The State Role in Health Care Innovation, 6 March 2013.
      Available at ​http://newsatjama.jama.com/2013/03/06/jama-forum-the-state-role-in-health-care-innovation/

15.   Sharfstein, J. JAMA Forum: Implementing the Affordable Care Act. 5 July 2012. Available
      at h​ ttp://newsatjama.jama.com/2012/07/05/jama-forum-implementing-the-affordable-care-act-getting-the-job-done/



S​ELECTED PRACTICE ACTIVITIES

Johns Hopkins Bloomberg School of Public Health

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   ● Supported strategic plans on opioids in Staten Island (2018), West Virginia (2018), and
     Louisiana (2018).

   ● Supported launch of Johns Hopkins Baltimore Violence Reduction Collaborative. 2016.

   ● Developed proposal and advised Baltimore City Health Department for BFRIEND falls
     prevention initiative. Proposal funded by Robert Wood Johnson Foundation. 2015-2017.

   ● Advised Baltimore City Public Schools, Baltimore City Health Department, and DC
     Public Schools on absenteeism project. 2016-2018.

   ● Advised Rhode Island Health Commissioner on response to opioid epidemic.
     2015-Present.

   ● Led review of teen pregnancy and healthy birth strategy for Baltimore’s Promise. 2015.

Maryland Department of Health and Mental Hygiene

   ● Led the negotiation with the Centers for Medicare & Medicaid Services to establish a
     new model for hospital payment in Maryland, essentially ending fee-for-service payment
     across all payers for Maryland residents.

   ● Established clear public health goals for Maryland through the State Health Improvement
     Process, which involves 18 local planning coalitions and a website with accessible, local
     data.

   ● Oversaw a strategic shift to community-based long-term care, including the merger of
     several waiver programs, the introduction of consumer choice, and a significant
     expansion of access to home care.

   ● Led the consolidation of the Alcohol and Drug Abuse Administration with the Mental
     Hygiene Administration into the new Behavioral Health Administration, and developed
     and implemented a more rational financing approach to behavioral and somatic care.

   ● Led several regulatory initiatives, including a ban on the sale of baby bumper pads and a
     revised consent form for indoor tanning devices for teenagers.

   ● Oversaw the building of a new public health laboratory, the reform of the Developmental
     Disabilities Administration, improvements in state psychiatric facilities, and
     transformation of the Maryland Board of Physicians.

   ● Oversaw reports on youth use of candy-flavored tobacco and health care worker-related
     transmission of the Hepatitis B virus.

Food and Drug Administration




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   ● Led the development of FDA-Track, a performance management system across the
     agency. The U.S. Department of Health and Human Services recognized FDA-Track with
     an award for innovation in 2011.

   ● Led the agency’s transparency initiative, which made substantially more information
     available about the regulatory process.

   ● Coordinated federal efforts between CDC, FDA, and the Trade and Tax Bureau on
     caffeinated, alcoholic beverages, leading to a ban on these unsafe products.

   ● Represented FDA on key public issues including the use of antibiotics in animals, the
     safety of bisphenol-A, the safety of infant positioners, the labeling of bottled water, the
     safety of dietary supplements, the ​Salmonella o​ utbreak from contaminated eggs, and drug
     safety.

   ● Oversaw reports on integrity in FDA decisionmaking and transparency at the agency.

Baltimore City Health Department

   ● Developed initiatives that won four model practice awards from the National Association
     of County and City Health Officers, including:

          ○ Facilitating the transition to Medicare Part D using an emergency management
            approach;

          ○ The Reach and Read Public Health Challenge to promote literacy in pediatric
            primary care;

          ○ The Baltimore Buprenorphine Initiative, which expanded access to effective drug
            treatment and was associated with a substantial reduction in heroin overdoses; and

          ○ The Fluoride Varnish initiative, which trained and reimbursed pediatric practices
            for applying fluoride varnish to reduce dental caries.

   ● Led successful regulatory initiatives to improve reporting for influenza vaccination and
     ban the sale of lead-tainted children’s jewelry.

   ● Introduced Health Leads programs on the Hopkins, UMBC, and Loyola campuses, which
     have involved more than 1,000 students volunteering to connect patients to resources at
     multiple health care sites in the city.

   ● Oversaw significant progress towards making the city animal shelter a “no-kill” shelter.

   ● Drafted the city plan on infant mortality that would be implemented and contribute to
     substantial improvements over time.

   ● Advocated for and implemented the ban on indoor smoking in bars and restaurants and
     the ban on transfats in foods.


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   ● Led a successful, national petition calling for the removal of cough-and-cold medications
     for young children from the market.

   ● Oversaw reports on heart disease and salt and arsenic contamination at Swann Park.

Congressional Testimony

April 3, 2014         Testimony before the House Oversight and Government Reform
                      Committee, Subcommittee on Economic Growth, Job Creation, and
                      Regulatory Affairs, Subcommittee on Energy Policy, Health Care, and
                      Entitlements, on the Maryland Health Benefit Exchange

December 13, 2012     Testimony before the House Energy and Commerce Committee,
                      Subcommittee on Health, on Implementation of the Affordable Care Act
                      in Maryland

March 17, 2011        Testimony before the Senate Committee on Health, Education, Labor,
                      and Pensions, on the Implementation of the Affordable Care Act in
                      Maryland

September 30, 2010    Testimony before the House Committee on Oversight and Government
                      Reform, Johnson and Johnson’s Recall of Children’s Tylenol and Other
                      Children’s Medicines

September 22, 2010    Testimony before the House Energy and Commerce Committee,
                      Subcommittee on Oversight and Investigations, on the Outbreak of
                      Salmonella in Eggs

July 14, 2010         Testimony before the House Energy and Commerce Committee,
                      Subcommittee on Health, on Antibiotic Resistance and the Use of
                      Antibiotics in Animal Agriculture

May 27, 2010          Testimony before the House Committee on Oversight and Government
                      Reform, Johnson and Johnson’s Recall of Children’s Tylenol and Other
                      Children’s Medicines

May 26, 2010          Testimony before the Senate Special Committee on Aging, Oversight of
                      Dietary Supplements

March 10, 2010        Testimony before the House Energy and Commerce Committee,
                      Subcommittee on Health, on Drug Safety: An Update from FDA.

July 13, 2009         Testimony before the House Committee on Rules on the Preservation of
                      Antibiotics for Medical Treatment Act of 2009

July 8, 2009          Testimony before the House Committee on Oversight and Government
                      Reform, Subcommittee on Oversight and Investigations, on Regulation

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                        of Bottled Water.

May 21, 2009            Testimony before the House Committee on Appropriations,
                        Subcommittee on Agriculture, Rural Development, Food and Drug
                        Administration, and Related Agencies, on President’s FY 2010 Budget
                        Request

May 7, 2009             Testimony before the before the Senate Committee on Appropriations,
                        Subcommittee on Agriculture, Rural Development, Food and Drug
                        Administration, and Related Agencies, on H1N1 Flu Virus

April 30, 2009          Testimony before the House Energy and Commerce Committee,
                        Subcommittee on Health, on H1N1 Flu Virus.


Testimony Before the Maryland General Assembly

I have testified more than 75 times before the Maryland General Assembly on budget and policy
matters. Successful legislative initiatives have included:

2007 session      SB 349 Expedited Partner Therapy Pilot Program for Baltimore City

2011 session      HB 166 Maryland Health Benefit Exchange Act

2012 Session      HB 86 Health Improvement and Disparities Reduction Act
                  HB 443 Maryland Health Benefit Exchange Act
                  HB 658 Emergency Plans for Human Services Facilities and Dialysis Centers

2013 Session      HB 228 Maryland Health Progress Act
                  HB 986 Sterile Compounding
                  HB 1009 Regulation of Cosmetic Surgery Centers
                  SB 1057 Regulation of Health Care Staffing Agencies

2014 Session      HB 1510 Establishment of Behavioral Health Administration


TEACHING

1/1/2015-                  Professor of the Practice, Department of Health Policy and
                           Management

7/1/2006 - 6/30/2009       Adjunct Assistant Professor, Department of Health Policy and
                           Management, Johns Hopkins Bloomberg School of Public Health

9/15/2006 - 6/30/2018      Adjunct Professor, Volunteer, Department of Pediatrics, University
                           of Maryland School of Medicine

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Advisees

MPH Capstone

   1. Marc Rabner.​ School Absenteeism and Public Health. 2016
   2. Laura Mandel. ​Provider Network Adequacy in Maryland Managed Care Organizations.
      2016.
   3. Megan Collins. ​Vision for Baltimore - a 3 year program to provide school-based eye
      care. 2017.
   4. Maria Armijos. ​A policy recommendation for antibiotic use in upper respiratory tract
      infections in Ecuador. 2017.
   5. Madeline Jackson. ​Section 1498 and Public Health Access to Specialty Drugs. 2017.
   6. Charlotte Kaye. ​Integrating Public Health Programming into Child Welfare Policy in
      Baltimore City. 2017.
   7. Jenny X. Wen. ​Overcoming systemic barriers to opioid use disorder treatment: evidence
      and recommendations for the National Academy of Medicine, 2018.
   8. Ali Bokhari. ​Drug pricing in public health emergencies, 2018.

Oral Exams

   1. Roza Vazin. Health Policy and Management, PhD. 2016.
   2. Amber Cox. International Health, PhD. 2016.
   3. Megan Wallace. Epidemiology, DrPH. 2016.

Classroom Instruction: Principal Instructor

   1. Crisis and Response in Public Health Policy and Practice. 300.650.01. 3nd term. 29
       students. 2018-2019.
   2. The Opioid Crisis: Problem Solving Seminar. PH 308.615. 1st term. 71 students.
       2018-2019.
   3. Crisis Response in Public Health Practice: International Perspectives. 302.843.98.
       Barcelona Institute. 20 students. 2018.
   4. Public Health Policy. 300.610. Summer term. 260 students. 2018.
   5. The Practice of Public Health Through Vaccine Case Studies: Problem Solving Seminar.
       223.630. 4th Term. 33 students. 2017-2018.
   6. Crisis and Response in Public Health Policy and Practice. 300.650.01. 2nd term. 38
       students. 2017-2018.
   7. Crisis Response in Public Health Practice: International Perspectives. 302.843.98.
       Barcelona Institute. 15 students. 2017.
   8. Crisis Response in Public Health Practice: Workshop. Barcelona Institute. Approximately
       10 students. 2017.
   9. The Opioid Crisis: Problem Solving Seminar. 308.615.81. 62 students. 2017.
   10. Crisis and Response in Public Health Policy and Practice. 300.650.01. 2nd term. 33
       students. 2016-2017.

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   11. Crisis Response in Public Health Practice: International Perspectives. 302.843.98.
       Barcelona Institute. 25 students. 2016.
   12. Crisis and Response in Public Health Policy and Practice. 300.650.01. 1st term. 40
       students. 2015-2016.

The Crisis and Response in Public Health Policy and Practice (domestic and international) and
Opioid Crisis Problem Solving Seminar have received outstanding range evaluations.


RESEARCH GRANT PARTICIPATION

 Technical support for   De Beaumont              April 2019-March        90.000
 data sharing            Foundation               2020


Co-Investigator.​ We are working with principal investigators at the University of Michigan to
provide technical support for localities seeking to



 Global Budgeting        Robert Wood              March 1, 2018 -         30,000
 Policy Academy          Johnson Foundation       August 1, 2018
                         (via Princeton
                         University)


Principal Investigator.​ We hosted a policy academy and produced a Q and A document for states
on global hospital budgeting in rural areas.

 Using Healthcare        De Beaumont              September 1, 2016 to    $100,000
 Data in Public Health   Foundation               September 1, 2017
 Practice


Principal Investigator. ​The purpose of this grant was to develop use cases and legal pathways for
public health departments to use healthcare data. This project was a collaboration with the
National Public Health Law Network, and the paper was published in December 2017.

 Transparency at the     Laura and John           August 8, 2016 to       $175,583
 U.S. Food and Drug      Arnold Foundation        March 31, 2018
 Administration


Principal Investigator​. The purpose of this grant was to develop recommendations to improve
transparency at the U.S. FDA. I coordinated an academic team including experts from Johns

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Hopkins, Harvard, and Yale, and we published a supplement to the Journal of Law, Medicine,
and Ethics.

 Assessing the            Commonwealth Fund        June 1, 2016 to June     $49,489
 Applicability of                                  30, 2017
 Global Hospital
 Budgeting to Large
 Safety Net Systems


Principal Investigator. ​The purpose of this grant was to develop a report for the Commonwealth
Fund on global hospital budgeting for safety net health systems. This report was published in the
summer of 2017.

 Reforming States         Milbank Memorial         April 1, 2016 -          $10,000
 Group letter to the      Fund                     December 31, 2016
 New Administration


Principal Investigator. ​The purpose of this grant was to help draft a bipartisan letter on
opportunities in health policy for the new administration. This letter was sent in the fall of 2016,
and the lead members of the Reforming States Group published an article summarizing the letter
in the ​New England Journal of Medicine​.

 Pharmaceutical           Laura and John           2016 - 2019              *
 Pricing                  Arnold Foundation        2019-


Investigator. ​Professor Gerard Anderson is the Principal Investigator on this project. My main
role is to develop public health approaches to pharmaceutical pricing. These efforts culminated
in a publication in the ​Journal of the American Medical Association​ and support for Louisiana’s
subscription model for hepatitis C elimination.

 Healthcare Pricing       Laura and John           2019-                    *
                          Arnold Foundation


Investigator. ​Professor Gerard Anderson is the Principal Investigator on this project. My main
role is to assist with work on global-budget type arrangements for hospitals and others in the
healthcare system.

SCHOOL SERVICE

 Committee                                         Role

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Committee of the Whole                 Member, 2015-

Graduate Medical Education Committee   Chair, 2015-

Practice Integration Committee         Chair, 2015-2019




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